       Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 1 of 35




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

GREGORY T. ANGELO                         )
130 M St NE, #908                         )
Washington, DC 20002                      )
                                          )
TYLER YZAGUIRRE                           )
40 Quincy Place, NE                       )
Washington, DC 20002                      )
                                          )
ROBERT M. MILLER                          )
4094 Majestic Lane # 278                  )
Fairfax, Virginia 22033                   )
                                          )
CAMERON M. ERICKSON                       )
2516 Q Street NW                          )
Washington, DC 20007                      )
                                          )
                      Plaintiffs,         )
                                          )
                               v.         )   Civil Action No. 22-cv-1878
                                          )
DISTRICT OF COLUMBIA,                     )
Serve: Mayor Muriel Bowser                )
1350 Pennsylvania Avenue, NW              )
Washington, DC 20004                      )
                                          )
c/o Office of Attorney General            )
1 Judiciary Square                        )
441 4th Street, N.W., 6th Fl. South       )
Washington, D.C. 20001              and   )
                                          )
CHIEF ROBERT J. CONTEE III                )
Metropolitan Police Department            )
300 Indiana Avenue, N.W.                  )
Washington, DC 20004                      )
                                          )
Defendants.                               )
_________________________________________ )

           COMPLAINT FOR DECLARATORY, INJUNCTIVE RELIEF
                           AND DAMAGES



                                      1
            Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 2 of 35




       COME NOW the Plaintiffs, Gregory T. Angelo, Tyler Yzaguirre, Robert M. Miller, and

Cameron M. Erickson, by and through their undersigned counsel, and complain of the Defendants

as follows:

THE PARTIES

       1.       Plaintiff Gregory T. Angelo is a natural person and a citizen of the United States

and of the District of Columbia. He holds a Concealed Pistol Carry License issued by the Chief of

the Metropolitan Police Department (“MPD”). He regularly carries a concealed firearm for

personal protection within Washington, DC. He is also a regular rider of the Washington

Metropolitan Transit Authority (“WMATA”) which operates bus and subway lines in the greater

Washington, DC area, including in northern Virginia and Montgomery and Prince Georges

Counties in Maryland.

       2.       Plaintiff Tyler Yzaguirre is a natural person and a citizen of the United States and

of the District of Columbia. He holds a Concealed Pistol Carry License issued by the MPD Chief.

He regularly carries a concealed firearm for personal protection within Washington, DC. He is

also a regular WMATA rider.

       3.       Plaintiff Robert M. Miller is a natural person and a citizen of the United States and

of Virginia. He holds a Concealed Pistol Carry License issued by the MPD Chief. He regularly

carries a concealed firearm for personal protection within the District. He is also a regular

WMATA rider.

       4.       Plaintiff Cameron M. Erickson is a natural person and a citizen of the United States

and of Washington, DC. He holds a Concealed Pistol Carry License issued by the MPD Chief. He

regularly carries a concealed firearm for personal protection within the Washington, DC. He is

also a regular WMATA rider.


                                                  2
             Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 3 of 35




        5.         Defendant District of Columbia (“the District”) is a municipal entity organized

under the Constitution and laws of the United States. It is the seat of government of the United

States. Article I, Section 8 of the Constitution gives Congress plenary authority to make laws

governing the seat of government of the United States. Congress has chosen to delegate much of

its power to make laws for the governing of the District of Columbia to the mayor and city council

of the District.

        6.         Defendant Robert J. Contee III is the MPD Chief. Defendant Contee is responsible

for executing and administering the District of Columbia’s laws, customs, practices, and policies

at issue in this lawsuit; has enforced the challenged laws, customs and practices against plaintiffs,

and is in fact presently enforcing the challenged laws, customs and practices against plaintiffs.

Defendant Contee is sued in both his individual and official capacities.

JURISDICTION AND VENUE.

        7.         This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331, 1343, 2201, 2202 and 42 U.S.C. § 1983 and § 1988.

        8.         Venue lies in this Court pursuant to 28 U.S.C. § 1391.

STATEMENT OF FACTS.

        The Second Amendment.

        9.         The Second Amendment to the United States Constitution provides: “A well

regulated Militia, being necessary to the security of a free State, the right of the people to keep and

bear Arms shall not be infringed.”

        10.        The Second Amendment guarantees the People of the United States a fundamental,

individual right to keep and carry arms for self-defense and defense of others in the event of a

violent confrontation. New York State Rifle and Pistol Association v. Bruen, __ U.S. __, Case No.


                                                    3
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 4 of 35




20-843, slip op. (June 23, 2022) (hereinafter “Bruen”); District of Columbia v. Heller, 554 U.S.

570 (2008) (hereinafter “Heller”); McDonald v. Chicago, 561 U.S. 742 (2010); Caetano v.

Massachusetts, 577 U.S. 411 (2016) (hereinafter “Caetono”); Wrenn v. District of Columbia, 864

F.3d 650 (D.C. Cir. 2017) (hereinafter “Wrenn”); Palmer v. District of Columbia, 59 F.Supp.3d

173 (D.D.C 2014) (hereinafter “Palmer”).

       11.     Arms are “‘weapons of offence, or armour of defence.’ 1 Dictionary of the English

Language 107 (4th ed.). They are anything that a man [or woman] wears for his defense, or takes

into his hands, or uses in wrath to cast at or strike another.’ 1 A New and Complete Law Dictionary

(1771).” Heller, 554 U.S. at 581.

       12.     The Second Amendment extends, prima facie, to all instruments that constitute

bearable arms, even those that were not in existence at the time of the founding. Heller, 554 U.S.

at 582; Caetano, slip op. at 1 (per curiam).

       13.     Pursuant to the Supreme Court’s decision in Bruen, supra, and the DC Circuit’s

decision in Wrenn, supra, the Second Amendment protects the right of law-abiding citizens to

carry a handgun in public for self-protection. A necessary component of the right to carry a firearm

is the right to possess and carry ammunition for that firearm. Otherwise, the firearm would be

useless as a self-defense tool, other than perhaps as a clubbing weapon. Cf. Ezell v. City of Chicago,

651 F.3d 684 (7th Cir. 2011) (the ability to train and practice with a firearm is protected by the

Second Amendment).

       14.     Under the Second Amendment, the District of Columbia retains the ability

presumptively to regulate consistent with the nation’s historical tradition of firearms regulation the

manner of carrying arms, including handguns, and may prohibit certain arms in narrowly defined

sensitive places, and prohibit the carrying of arms that are not within the scope of Second


                                                  4
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 5 of 35




Amendment’s protection, such as unusually dangerous arms, and disqualify specific, particularly

dangerous individuals from carrying arms. See Bruen, slip. op. at 13; Heller, 554 U.S. at 627;

Wrenn, 864 F.3d at 662-63 & n. 5. However, when such regulations impinge on the ability of law-

abiding persons to protect themselves and their loved ones, such laws are invalid unless supported

by the text of the Second Amendment or by historical analogues existing at the time of the

founding. Bruen, slip op. at 13.

       15.     Given the decisions in Bruen and Heller, The District of Columbia may not ban the

keeping and bearing of arms for self-defense that are not unusually dangerous, deny individuals

the right to carry arms in non-sensitive places, deprive individuals of the right to keep or carry

arms in an arbitrary and capricious manner, or impose regulations on the right to keep and carry

arms that are inconsistent with the Second Amendment and the historical tradition of firearms

regulation in the United States. Bruen, slip op. at 13. See also Caetano, 577 U.S. 411; Heller v.

District of Columbia, 801 F.3d 264 (D.C. Cir. 2015); Wrenn, 864 F.3d 650; Palmer, 59 F.Supp.3d

173.

       16.     The regulation at issue in this case, runs afoul of the Second Amendment because

it lacks any historical justification, is arbitrary and capricious, and unnecessarily impinges on the

core right of self-protection. Moreover, to the extent any continuing validity exists of the interest

balancing test adopted by the D.C. Circuit in Heller v. District of Columbia, 670 F.3d 1244 (D.C.

Cir. 2011) – and we suggest there is not – the regulation at issue herein is not justified by an

articulated compelling or substantial governmental interest, and lacks sufficient tailoring to

achieve whatever governmental interest, if any, might exist to otherwise support it, without

unreasonably intruding on Second Amendment liberties.




                                                 5
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 6 of 35




       17.     Following the issuance of Palmer, the District of Columbia enacted a detailed

scheme that restricted the public carrying of handguns to persons who are issued licenses to carry

concealed pistols.1 See DC Code Section 22-4504(a) (“No person shall carry within the District

of Columbia either openly or concealed on or about their person, a pistol, without a license issued

pursuant to District of Columbia law, or any deadly or dangerous weapon.”). The MPD Chief was

given discretion to issue carry licenses to persons who could show good cause and otherwise meet

detailed eligibility requirements. See DC Code Section 22-4506(a), which provided:

       The Chief of the Metropolitan Police Department (“Chief”) may, upon the
       application of a person having a bona fide residence or place of business within the
       District of Columbia, or of a person having a bona fide residence or place of
       business within the United States and a license to carry a pistol concealed upon his
       or her person issued by the lawful authorities of any State or subdivision of the
       United States, issue a license to such person to carry a pistol concealed upon his or
       her person within the District of Columbia for not more than 2 years from the date
       of issue, if it appears that the applicant has good reason to fear injury to his or her
       person or property or has any other proper reason for carrying a pistol, and that he
       or she is a suitable person to be so licensed.

       18.     Under this provision, some 123 carry licenses were issued between the date of

enactment of Section 22-4506, and the decision of the Court of Appeals in Wrenn. Pursuant to

Wrenn, the District became what is known as a shall issue jurisdiction, meaning that upon an

applicant meeting objective qualifications, the Chief was required to issue a license to carry a

handgun to the applicant unless the Chief had information indicating that the applicant was

otherwise not suitable to carry a handgun, for example, that he presented a danger to himself or


1
  DC Code Section 7-2505.01(12) defines the term “pistol” as “any firearm originally designed to
be fired by use of a single hand or with a barrel less than 12 inches in length.” Generally, in usage,
the term “pistol” refers to a handgun having one chamber integral with the barrel, making pistols
distinct from the other main type of handgun, the revolver, which has a revolving cylinder
containing multiple chambers. Most handgun experts and dictionaries make a technical distinction
that views pistols as a subset of handguns. The District uses the term pistol to refer to all handguns,
however. For the sake of clarity, this complaint will use the term “handgun” to refer to both pistols,
revolvers and other weapons coming within the term “pistols” as defined by District law.
                                                  6
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 7 of 35




others. Such objective criteria include meeting the requirement to take 16 hours of classroom

training and two hours of range training from an MPD licensed concealed carry instructor, passing

a 50 round shooting test administered by the instructor, passing a background check, and not being

a person prohibited from possessing firearms and ammunition under federal or District law. See

DC Code Section 7-2509.02.

       19.     Based upon MPD’s response to a Freedom of Information Act request as of August

29, 2019, the District had issued 3,339 carry licenses. See Response to FOIA Request, 2019-FOIA-

05038. On information and belief, the District has issued several thousand more carry licenses

since August of 2019.

       20.     The District has adopted strict regulations on the carrying of handguns. For

example, District law substantially limits where handguns may be carried. See DC Code 7-

2509.07. Quoting from Code Section 7-2509.07, handguns may not be carried in the following

places or in the following circumstances:

       (1) A building or office occupied by the District of Columbia, its agencies, or
       instrumentalities;

       (2) The building and grounds, including any adjacent parking lot, of a childcare
       facility, preschool, public or private elementary or secondary school; or a public or
       private college or university;

       (3) A hospital, or an office where medical or mental health services are the primary
       services provided;

       (4) A penal institution, secure juvenile residential facility, or halfway house;

       (5) A polling place while voting is occurring;

       (6) A public transportation vehicle, including the Metrorail transit system and its
       stations;

       (7) Any premises, or portion thereof, where alcohol is served, or sold and consumed
       on the premises, pursuant to a license issued under Title 25; provided, that this
       prohibition shall not apply to premises operating under a temporary license issued
                                                 7
 Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 8 of 35




pursuant to § 25-115, a C/R, D/R, C/H, D/H or caterer license issued pursuant to §
25-113, or premises with small-sample tasting permits issued pursuant to § 25-118,
unless otherwise prohibited pursuant to subsection (b)(3) of this section;

(8) A stadium or arena;

(9) A gathering or special event open to the public; provided, that no licensee shall
be criminally prosecuted unless:

       (A) The organizer or the District has provided notice prohibiting the
           carrying of pistols in advance of the gathering or special event and by
           posted signage at the gathering or special event; or

       (B) The licensee has been ordered by a law enforcement officer to leave the
       area of the gathering or special event and the licensee has not complied with
       the order;

(10) The public memorials on the National Mall and along the Tidal Basin, and any
area where firearms are prohibited under federal law or by a federal agency or
entity, including U.S. Capitol buildings and grounds;

(11) The White House Complex and its grounds up to and including to the curb of
the adjacent sidewalks touching the roadways of the area bounded by Constitution
Avenue, N.W., 15th Street, N.W., H Street, N.W., and 17th Street, N.W.;

(12) The U.S. Naval Observatory and its fence line, including the area from the
perimeter of its fence up to and including to the curb of the adjacent sidewalks
touching the roadway of Observatory Circle, from Calvert Street, N.W., to
Massachusetts Avenue, N.W., and around Observatory Circle to the far corner of
Observatory Lane;

(13)(A) When a dignitary or high-ranking official of the United States or a state,
local, or foreign government is moving under the protection of the MPD, the U.S.
Secret Service, the U.S. Capitol Police, or other law enforcement agency assisting
or working in concert with MPD, within an area designated by the Chief, the Chief
of the U.S. Secret Service, or the Chief of the U.S. Capitol Police, or a designee of
any of the foregoing, that does not include any point at a distance greater than 1,000
feet from the moving dignitary or high-ranking official; provided, that no licensee
shall be criminally prosecuted unless:

       (i) The law enforcement agency provides notice of the designated area by
       the presence of signs, law enforcement vehicles or officers acting as a
       perimeter, or other means to make the designated area of protection
       obvious;



                                          8
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 9 of 35




              (ii) The District or federal government has provided notice prohibiting the
              carrying of pistols along a designated route or in a designated area in
              advance of the event, if possible, and by posted signage along a route or in
              a designated area; or

              (iii) The licensee has been ordered by a law enforcement officer to leave the
              designated area and the licensee has not complied with the order.

       (B) For the purposes of this paragraph, the term “moving” shall include any planned
       or unplanned stops, including temporary stops, in locations open to the public.

       (14) When demonstration in a public place is occurring, within an area designated
       by the Chief or his or her designee, or other law enforcement agency, that does not
       include any point at a distance greater than 1,000 feet from the demonstration;
       provided, that no licensee shall be criminally prosecuted unless:

              (A) The law enforcement agency provides notice of the designated area by
              the presence of signs, law enforcement vehicles or officers acting as a
              perimeter, or other means to make the designated area of the demonstration
              obvious;

              (B) The District or federal government has provided notice prohibiting the
              carrying of pistols along or within a demonstration route or designated area
              in advance of the event, if possible, and by posted signage along a
              demonstration route or designated area; or

              (C) The licensee has been ordered by a law enforcement officer to leave the
              designated area and the licensee has not complied with the order; …

       (15) Any prohibited location or circumstance that the Chief determines by rule;
       provided, that for spontaneous circumstances, no criminal penalty shall apply
       unless the licensee has notice of the prohibition and has failed to comply.

       21.    In addition, DC Code Section 7-2509.07(b) provides that carrying a handgun into

the residence of another is presumed prohibited unless authorized in advance by the owner or

person in control of the property. DC Code Section 7-2509.07(b)(1). A similar provision presumes

that carrying a handgun into a place of worship is prohibited unless signage allows it, or the

licensee is provided permission personally in advance. DC Code Section 7-2509.07(b)(2). Under

DC Code Section 7-2509.07(b)(3), it is presumed that a licensee has permission to carry in and on



                                                9
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 10 of 35




other non-residential property unless conspicuous signage prohibits handgun carry or the licensee

has been personally told not to carry on the property.2

       22.     In dicta, Heller designated schools and government building as presumptively

sensitive areas where carriage of firearms could be restricted. Heller, 554 U.S. at 626. In U.S. v.

Class, 930 F.3d 460, 463 (D.C. Cir. 2019) the D.C. Circuit noted that “A challenger may rebut this

presumption by ‘showing the regulation [has] more than a de minimis effect upon his right’ to bear

arms. Heller [v. District of Columbia], 670 F.3d [1244,] 1253 [D.C. Cir. 2011].” The court in

Class further explained that the question of what is a sensitive area turns on “the people found

there” or the “activities that take place there.” Class, 930 F.3d at 465, quoting GeorgiaCarry.Org,

Inc. v. Georgia, 764 F. Supp. 2d 1306, 1319 (M.D. Ga. 2011, aff’d, 687 F.3d 1244 (11th Cir. 2012).

       23.     DC Code Section 7-2509.07 goes far beyond Heller in restricting handgun carry in

a variety of locations other than the schools and government buildings Heller discussed as

presumptively valid. Although it is questionable whether many of the areas set forth in DC Code

Section 7-2509.07 are truly sensitive areas, one area stands far apart from the others in terms of

the lack of any basis for its designation as such: that is the prohibition on the carriage of personal

protection firearms on public transportation vehicles such as Metro buses and trains. See DC Code

Section 7-2509.07(a)(6). Discussion of each of the prohibited locations set forth in DC Code

Section 7-2509.07 makes this abundantly clear.




2
  DCMR 24-2346.1 specifies that “Signs stating that the carrying of firearms is prohibited on any
private property shall be clearly and conspicuously posted at any entrance, open to the public, of
a building, premises, or real property.” DCMR 24-2346.2, in turn, provides that “A sign shall be
considered conspicuous if it is at least eight (8) inches by ten (10) inches in size and contains
writing in contrasting ink using not less than thirty-six (36) point type.

                                                 10
        Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 11 of 35




       24.     As noted immediately above, under Heller government buildings (see DC Code

Section 7-2509.07(a)(1) are presumptively3 considered sensitive areas. 554 U.S. at 626. The logic

behind this is not difficult to fathom. Government buildings house government officials and often

sensitive information and activities. The buildings themselves have been the subject of terrorist

attacks and government officials represent potential prime targets to terrorists, deranged persons,

or persons who have some perceived grudge against some governmental action. As Professor

Kopel has put it in discussing the sensitive places doctrine, “misuse of arms may prevent the

operation of courts and other institutions of a free government.” David B. Kopel & Joseph G.S.

Greenlee, The Sensitive Places Doctrine, 13 Charleston L. Rev. 203, 209 (2018) (hereinafter

“Kopel”)4

       25.     Moreover, one generally enters a government building at his own volition.

Significantly, the vast majority of government buildings in the District of Columbia employ

security measures such as armed security guards (designated special police officers in the District),

and metal detectors at entrances. Thus, although a person gives up personal security by not being

able to carry a firearm in a government building, he does so under the circumstances generally


3
  We emphasize the word presumptive. Presumptions are just that, presumptions. Presumptions
can be overcome with evidence. See Fed. R. Evid. 301 (“In a civil case, unless a federal statute or
these rules provide otherwise, the party against whom a presumption is directed has the burden of
producing evidence to rebut the presumption. But this rule does not shift the burden of persuasion,
which remains on the party who had it originally.”) Thus, we would not concede that all
government buildings in all circumstances are sensitive areas. Consider for example, a
government store selling maps and navigational aids. Such a store is indistinguishable from any
other commercial establishment. Or consider a bathroom structure in a national park. As discussed
above, the D.C. Circuit in Class, 930 F.3d at 463, stated that “A challenger may rebut this
presumption only by ‘showing the regulation [has] more than a de minimis effect upon his right’
to bear arms. Heller [v. District of Columbia], 670 F.3d at 1253.”
4 The court in Bruen cites to Kopel in its discussion of the sensitive places doctrine. Bruen, slip
op. at 21.

                                                 11
        Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 12 of 35




where the prohibited place provides an added layer of security not present in other public places.5

Thus, the burden presented to his or her personal security and his or her need for self-defense is

substantially lessened by the security measures employed. Finally, traditionally the government

has more authority to control its own property than to control other properties.6


5
  The court in Class declined to hold the presence of security as a definitive factor in the
determination of whether a location qualified as “sensitive” under Heller. Nonetheless, the
presence of armed security and the scanning of persons entering a location bear on the degree to
which a person entering such a location runs a risk of criminal attack and thus bears directly on
the degree of burden on the person’s right to bear arms. It stands to reason that there is less need
for an individual to be armed for his or her self-protection if there is the presence of adequate
armed security, including screening of persons entering a location, and thus the burden on his or
her second amendment right to be armed in the event of a violent confrontation is substantially
diminished.
6
  In addressing the issue of firearm carry on the grounds of the U.S. Capitol, the court in Class,
explained,

       With respect to the Capitol itself, there are few, if any, government buildings more
       “sensitive” than the “national legislature at the very seat of its operations.” Jeanette
       Rankin Brigade v. Chief of the Capitol Police, 421 F.2d 1090, 1093 n.3 (D.C. Cir.
       1969). And tragically, gunmen have targeted the Capitol before. [Citation omitted.]
       … [W]e have little trouble concluding that the same security interests which permit
       regulation of firearms “in” government buildings permit regulation of firearms on
       the property surrounding those buildings as well….

       As for the Maryland Avenue parking lot, although it is not a government building,
       we conclude that it is sufficiently integrated with the Capitol for Heller I's sensitive
       places exception to apply….

       First, though it is open to the public, the Maryland Avenue parking lot may be used
       during working hours only by Capitol employees with a permit. This makes the
       area a potential stalking ground for anyone wishing to attack congressional staff
       and disrupt the operations of Congress….

       Second, the lot is close to the Capitol and legislative office buildings. Class
       possessed a firearm less than 1,000 feet away from the entrance to the Capitol, and
       a block away from the Rayburn House Office Building. Although there is surely
       some outer bound on the distance Congress could extend the area of protection
       around the Capitol without raising Second Amendment concerns, Congress has not
       exceeded it here.

                                                 12
        Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 13 of 35




       26.     Schools are also a location presumptively sensitive under Heller, 554 U.S. at 626.

See DC Code Section 7-2509.07(a)(2). Schools are populated by large numbers of persons under

the age of 21, the age limit most states have adopted for issuance of carry permits to citizens, and

thus unable to defend themselves with firearms due to age.

       27.     In addition, schools generally have some degree of enhanced security compared to

most public areas. For example, schools generally have locked doors, the presence of armed school

resource officers, and in some schools students are required to pass through metal detectors. To be

sure, schools have been a target of active killers, perhaps emboldened by the prospect of the lack

of any effective armed resistance, resulting in calls to allow teachers and other school employees

to possess arms to defend against such attacks. See, e.g., Massad Ayoob, The Case for Arming

Teachers and the Reality of How it Works, Personal Defense World (August 21, 2018), available

at https://www.personaldefenseworld.com/2018/08/hard-targets-arming-teachers/.            However,




       Finally, as the owner of the Maryland Avenue lot, the government—like private
       property owners—has the power to regulate conduct on its property. See Adderly v.
       Florida, 385 U.S. 39, 47 (1966) (observing in the free-speech context that the
       government, “no less than a private owner of property, has power to preserve the
       property under its control for the use to which it is lawfully dedicated”); cf. Bonidy
       v. U.S. Postal Serv., 790 F.3d 1121, 1126 (10th Cir. 2015) (observing that when the
       U.S. Postal Service acts “as a proprietor rather than as a sovereign, [it] has broad
       discretion to govern its business operations according to the rules it deems
       appropriate”).

       In sum, because the Maryland Avenue lot has been set aside for the use of
       government employees, is in close proximity to the Capitol building, and is on land
       owned by the government, we consider the lot as a single unit with the Capitol
       building, and conclude that the lot is a “sensitive” place where firearms prohibitions
       are presumptively lawful. Accord id. at 1125-28 (finding that a post office parking
       lot is “sensitive” for Second Amendment purposes); United States v. Dorosan, 350
       F. App'x 874, 875 (5th Cir. 2009) (same).

930 F.3d at 463-64. But see Morris v. U.S. Army Corps of Engineers, 60 F.Supp.3d 1120 (D. Idaho
2014) (invalidating regulation prohibiting firearms on Army Corps of Engineers lands).
                                                13
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 14 of 35




these calls do not generally extend to proposing to allow visitors to elementary and secondary

schools to carry on school premises without permission of school authorities.7 Most states prohibit

the carrying of firearms in K-12 schools by non-school personnel even with carry licenses or

permits.8

       28.     DC goes beyond the Supreme Court’s Heller dicta on schools to prohibit licensed

carry also at colleges and universities. Plainly the justification for finding such institutions to be

sensitive locations is weaker than for elementary and secondary schools, though such institutions

also have substantial numbers of persons under the age of 21 who would lack the legal ability to

carry a firearm for personal protection. There has been robust public debate over allowing licensed

firearm carriers to carry personal protection firearms on college campuses. Some states, allow

carriage on college campuses while prohibiting carrying firearms on elementary and secondary

school grounds. Some have noted that gun free zones are the preferred choice of active killers,

while others have suggested that the presence of firearms may limit academic freedom and free

class discussion. See Room for Debate, Should Guns Be Allowed on College Campuses, The New

York           Times            (May             31,          2016),            available           at

https://www.nytimes.com/roomfordebate/2016/05/31/should-guns-be-permitted-on-college-




7
  The Federal Gun Free School Zones Act, passed pre-Heller, prohibits firearm carry on and around
elementary and secondary school property, but exempts persons holding a carry permit or license
issued by the state wherein the school is located. Cf. United States v. Lopez, 514 U.S. 549 (1995)
(invalidating the previous iteration of this law on commerce clause grounds).
8
 A notable exception is the State of Utah. See Utah Code Section 76-10-505.5 which allows Utah
concealed weapons permit holders to carry in schools.

                                                 14
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 15 of 35




campuses.9 See Digiacinto v. The Rector and Board of Visitors of George Mason University, 281

Va. 127 (2011) (finding George Mason University to be a sensitive place under Heller).10

        29.     Hospitals share with schools the fact that substantial numbers of persons present

are incapable of effectively using a firearm for self-defense due to physical infirmities or illness.

See DC Code Section 7-2509.07(a)(3). And although hospitals generally lack the tight security of

government buildings, e.g., use of metal detectors to screen for weapons, hospitals generally will

have a security staff present to provide somewhat of an enhanced degree of security for patients

and staff.

        30.     Mental health facilities present an additional factor in determining whether such a

location is a “sensitive” area. Approximately two-thirds of firearm deaths are the result of suicide.

See Centers for Disease Control and Prevention, National Center for Injury Prevention and

Control, Web-based Injury Statistics Query and Reporting System (WISQARS) Fatal Injury

Reports. Thus, at least a plausible basis exists to limit the carrying of firearms at facilities providing

mental health treatment. On the other hand, it is questionable whether a compelling basis exists

for restricting hospital or medical staff from having the means to protect themselves and their

patients from a deadly criminal attack. In one well known incident,


9
  According to Campus Safety Magazine, 12 states allow carry on college campuses, while 16
states prohibit the practice as of August 2017. 22 states leave the decision to the individual colleges
and universities. See A List of States that Allow Concealed Guns on Campus, Campus Safety
(August 30, 2017), available at https://www.campussafetymagazine.com/university/list-of-states-
that-allow-concealed-carry-guns-on-campus/.
10
   The court in Digiacinto found that the regulation in question was not a total ban on carrying
firearms but was “tailored, restricting weapons only in those places where people congregate and
are most vulnerable – inside campus buildings and at campus events. Individuals may still carry
or possess weapons on the open grounds of GMU, and in other places on campus not enumerated
in the regulation.” 281 Va. at 136. Cf. Op. Atty. Gen. Va. 05-078 (January 4, 2006) (opining
that licensed individuals may not be prohibited from carrying firearms in open areas of public
universities
                                                   15
          Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 16 of 35




       an enraged man entered a psychiatric clinic and shot a caseworker dead and
       wounded one of the doctors before the latter drew a small-caliber pistol and shot
       the man down, limiting the death toll to one. The doctor recovered and, declared a
       hero by local police, suffered no consequences for being armed in a “gun-free”
       zone.

Massad Ayoob, 10 Cases Where An Armed Citizen Took Down An Active Shooter, Personal

Defense           World           (March           11,          2015),           available          at

https://www.personaldefenseworld.com/2015/03/10-cases-where-an-armed-citizen-took-down-

an-active-shooter/.11 The District’s prohibition on its face extends to both staff and to patients and

visitors. DC also extends its prohibition to medical offices in general. There would appear a much

weaker basis for upholding such a prohibition based on “sensitive” areas for medical offices in

general as opposed to hospitals and locations where mental health treatment is being provided.

       31.     DC prohibits licensed gun carry in a penal institution or in a secure juvenile

residential facility or halfway house. DC Code Section 7-2509.07(a)(4). If any location would

appear to meet the requirements for “sensitive” it would be these locations. Persons incarcerated

for crimes plainly have no right to deadly weapons. Penal facilities generally have armed security

and the risk of a dangerous person taking a gun away from a firearm carrier is not insubstantial.

       32.     DC prohibits carrying a firearm in a polling place. DC Code Section 7-

2509.07(a)(5). Traditionally, governments have had substantial latitude to regulate the conduct of




11
   Undersigned counsel is aware of an incident where a psychiatrist employed at a DC university
hospital took a patient off a scheduled prescription drug because the patient was abusing the drug
with alcohol thus creating a danger to himself. The patient became enraged and showed up at the
hospital threatening to kill the doctor. Under the then “may issue” regime, MPD granted the doctor
a carry license finding she had a legitimate need for self-protection distinct from the population in
general, but she was prohibited from carrying her firearm to work – the most likely place where
her patient might try to carry out his threat – because of the various DC prohibitions against
carrying in a medical facility, carrying where mental health treatment was provided, carrying in a
hospital, or on a college or university grounds. For her, these restrictions resulted in a more than
de minimis infringement on her Second Amendment rights.
                                                 16
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 17 of 35




elections. Burson v. Freeman, 504 U.S. 191 (1992). It is a common restriction to limit the first

amendment right to engage in political speech inside a polling place. See Minnesota Majority v.

Mansky, 849 F.3d 749 (8th Cir. 2017). There is also a governmental interest in preventing

intimidation of voters. The argument could be made that preventing firearms aids in effectuating

that latter governmental interest. On the other hand, most polling places do not have police

protection and could be a prime candidate for some type of election day terrorist or active killer

incident. Bruen, slip op. at 21, further indicates that restrictions on carriage at polling places is

historically supported by 18th and 19th Century regulations.

       33.     DC prohibits carrying firearms at taverns and nightclubs, while allowing it at other

establishments licensed to sell alcohol subject to licensees not consuming alcohol. DC Code

Section 7-2509.07(a)(7). This type of prohibition is not unusual among the various states. It is well

known that consumption of alcohol impairs judgment, inhibitions, and coordination. Consumption

of alcohol increases the risk of firearm accidents and inhibits the ability of an individual to properly

evaluate whether use of deadly force in self-defense is legally justified. Under DC law, a licensee

is free to go to a restaurant for dinner and carry his firearm as long as he does not consume alcohol.

The limitation on carrying into a night club or tavern can be supported by the fact that such

establishments are not required to serve food and thus service of alcohol is a primary activity

occurring at such an establishment. On the other hand, the flat prohibition on consuming alcohol

versus consuming to the point of impairment could indicate that the alcohol prohibition is

overbroad.

       34.     The District bans carrying of firearms at stadia and arenas. DC Code Section 7-

2509.07(a)(8). Stadia and arenas are characterized by the presence of large numbers of persons

who are concentrated on a sporting event. They are likely not situationally aware. Moreover,


                                                  17
          Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 18 of 35




alcohol is often served at such events, and persons often are very emotional over their teams,

perhaps taking offense at persons cheering for the other team. Fights have been known to break

out at such locations. Moreover, such events at least in the District have a substantial police and

private security presence, including in some cases metal detector screening. Thus, there is some

support for the view these venues could be considered sensitive and the burden on self-defense

and Second Amendment rights minimal.

         35.    DC prohibits the carrying of a handgun at a “gathering or event open to the public.”

DC Code Section 7-2509.07(a)(9). Quite frankly, this prohibition, without more, likely suffers

from             the           fatal           flaw             of          vagueness.            See,

e.g., Papachristou v. City of Jacksonville, 405 U.S. 156 (1972); Joseph Burstyn, Inc. v. Wilson,

343 U.S. 495 (1952). The District, however, substantially ameliorates this problem by providing

that a person cannot be prosecuted for carrying a firearm at such an event unless there has been

advance notice that carrying firearms is prohibited at the event and by posted signage at the event,

or unless the licensed carrier is ordered by law enforcement to leave and does not leave. Thus, the

degree of interference with the right to carry by this prohibition is substantially less than a

regulation that outright prohibits carriage at such events. And the likelihood of a justiciable case

being presented with respect to this prohibition is limited. DC law provides that licensees must

fully conceal their carried handguns, so it is unlikely that a law enforcement official would even

notice that a licensed carrier was attending such an event.12




12
     DC Code Section 7-2509.07(e). See also DCMR 24-2344:

         Pistol Carry Methods. 2344.1 A licensee shall carry any pistol in a manner that it is
         entirely hidden from view of the public when carried on or about a person, or when
         in a vehicle in such a way as it is entirely hidden from view of the public. 2344.2 A
         licensee shall carry any pistol in a holster on their person in a firmly secure manner
                                                  18
        Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 19 of 35




       36.     DC’s treatment of demonstrations in a public place is similar to its treatment of

“public events.” See DC Code Section 7-2509.07(a)(14). Demonstrations have the potential for

confrontations between persons of differing views. Some might argue that this would be just such

a location where possession of effective self-defense tools would be appropriate due to the

potential of a violent attack. However, demonstrations in the District almost always are marked by

substantial police presence to prevent violence from breaking out. The prohibition on carrying at

demonstrations also contains a safe harbor provision that violators cannot be prosecuted unless:

       (A) The law enforcement agency provides notice of the designated area by the
       presence of signs, law enforcement vehicles or officers acting as a perimeter, or
       other means to make the designated area of the demonstration obvious;

       (B) The District or federal government has provided notice prohibiting the carrying
       of pistols along or within a demonstration route or designated area in advance of
       the event, if possible, and by posted signage along a demonstration route or
       designated area; or

       (C) The licensee has been ordered by a law enforcement officer to leave the
       designated area and the licensee has not complied with the order;

       37.     DC prohibits carry in the public memorials on the Mall and around the Tidal Basin

and areas where carrying a firearm is prohibited by federal law, including the Capitol Grounds.

DC Code Section 7-2509.07(a)(10). Areas prohibited by federal law needs no further discussion.

The memorials are plainly a possible target of a terrorist or active killer given their status as

landmarks and symbols of the country. To that extent one could argue that these locations could

be considered sensitive; but these facts might also suggest a heightened need for persons to be able

to defend themselves. They are also, however, areas that generally have a high degree of police

presence to provide added security.




       that is reasonably designed to prevent loss, theft, or accidental discharge of the
       pistol.
                                                19
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 20 of 35




       38.     The District prohibits carrying a firearm around the perimeter of the White House

grounds and Lafayette Park and the Vice President’s residence. DC Code Section 7-

2509.07(a)(11)-(12). In light of the Class decision discussed above, there cannot be any serious

debate over whether these qualify as sensitive areas.

       39.     The District requires licensed carriers to stay 1,000 feet away from a motorcade

(moving or stopped for an event) carrying domestic or foreign dignitaries under police escort. DC

Code Section 7-2509.07(a)(13). The provision contains a safe harbor, however, providing that a

licensee cannot be prosecuted for violating this provision unless advanced notice has been given

of the prohibited route – which is almost never done – or the area of protection is obvious as a

result of a police perimeter, or the licensee is told to leave and refuses to do so. This prohibition is

relatively meaningless since law enforcement is not in the habit of providing advance notice of

motorcade routes and licensees carrying fully concealed firearms would likely go undetected;

hence, their presence near a motorcade route is unlikely to come to the attention of law

enforcement unless the licensee attempts to violate a security perimeter. Thus, the degree of burden

of this regulation to the average DC concealed carrier is minimal.

       40.     DC law essentially allows houses of worship and private property owners to

determine if they will allow firearm carry. Thus, the law does not outright ban carrying firearms

on private property. Few would argue that there is or should be an unlimited right to conduct

oneself as one pleases on the private property of another.

       41.     There is no need to discuss Code Section 7-2509.07(a)(15), allowing the Chief to

designate other sensitive areas, as the Chief has not to our knowledge done so.

       42.     Public transportation vehicles and stations, essentially the DC Metro, share few, if

any, of the characteristics supporting the designation of other locations as sensitive areas. They are


                                                  20
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 21 of 35




not substantially populated with persons lacking the physical ability to defend themselves with a

firearm or other tool. They are not populated with individuals who would be high value targets to

a terrorist or active killer. They are not landmarks or symbols of our nation which would be inviting

to terrorists or active killers.13 The Metro system does not screen persons entering its stations or

embarking on a Metro bus or train. The Metro is not an area of intellectual debate, voting, or where

demonstrations regularly take place. The Metro is essentially a commercial enterprise providing

an essential transportation service to an area with highly congested routes of travel. And although

Metro has its own police force, the overwhelming number of trains and buses lack any police

presence. There is not a tradition or history of prohibitions of carrying firearms on public

transportation vehicles. In short there is no basis to label the Metro as a sensitive area.

       43.     Some might argue that mass transit systems are soft targets of terrorists, and the

hijacking of planes might be used to support such an argument; however, soft targets are “soft”

because they lack security to harden them from attack. Further, in the case of the terrorist attacks

on 9/11, the airliners and their passengers were not targets in and of themselves. Instead, they were

used as weapons to attack national symbols. The response to that threat was to intensify airport

security and to deploy a large cadre of air marshals. The Metro system lacks such security

measures. Rather, DC’s prohibition on carrying arms in the Metro system is what would make

Metro a soft target.

       44.     Even if the public transportation vehicles could be considered “sensitive areas,” the

prohibition on licensed carry on such vehicle is a substantial infringement on licensees’ Second


13
   Of course, the evidence strongly indicates that active killers seek out gun free zones to
accomplish their nefarious plans. Thus, a location that might not otherwise be a target could be
endangered by giving it the status of a “gun free zone.” See Crime Prevention Research Center,
Updated: Mass Public Shootings Keep Occurring in Gun-Free Zones: 94% of Attacks Since 1950
(June 15, 2018).
                                                  21
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 22 of 35




Amendment rights. This is especially the case as to persons of limited means lacking access to

alternative transportation. It is certainly more than a de minimis burden on persons such as the

Plaintiffs here who regularly use the Metro system in their day-to-day activities, and thus no

presumption of constitutionality would accrue to this prohibition. See Class, 930 F.3d at 463. The

practical effect is that persons who need to travel around the District via the Metro are disarmed

for the entirety of their journey. This is true despite that it is technically possible to transport a

handgun on the Metro.

       45.     To transport a handgun on the Metro, the firearm must be unloaded, stored in a

locked container with the ammunition stored separately. DC Code Section 22-4504.02. Thus, a

woman with a DC concealed pistol license could theoretically holster her gun for the walk through

her crime ridden neighborhood as she heads out for shopping, but before she could enter the Metro

station or get on a Metro bus, she would have to unholster her firearm, unload it, open a lockable

container, place the gun in the lockable container, lock it, and store the ammunition separately. See

DC Code Section 22-4504.02. All of this would be done in public and in violation of the

requirement of DC Code Section 7-2509.07(e) that the gun has to be fully concealed.14 And once

getting off the Metro, to continue to her ultimate destination while exercising her constitutional




14
   The penalties for violating the requirement that the firearm must be fully concealed are
enormous. The District of Columbia Code provides for a potential jail term of up to six months
and a fine of up to $1000 for such violation. See DC Code Sections 7-2707.06(a) and 22-
3571.01(b)(4). Moreover conviction “in any jurisdiction of any law which involves the sale,
purchase, transfer in any manner, receipt, acquisition, possession, having under control, use, repair,
manufacture, carrying, or transportation of any firearm, ammunition, or destructive device” is
defined as a “weapons offense.” DC Code Section 7-2501.01(18). Conviction of a weapons offense
– with very minor exceptions not pertinent hereto – by a DC resident renders that person ineligible
for life to register or carry a firearm, thus stripping him of his firearms rights in DC. See DC Code
Section 7-2502.03(a)(2). Under such circumstances no DC carrier is likely to intentionally expose
his firearm and risk losing his firearms rights in the District. We note that MPD actively enforces
this provision.
                                                 22
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 23 of 35




right to be armed in the event of a violent confrontation, she would have to unlock the locked

container, remove her firearm from the container, load it, holster it, and conceal it, again all in

public. The likelihood of creating a public disturbance with a dangerous police response and likely

arrest is substantial.

        46.       Moreover, notwithstanding that DC Code Section 7-2509.07(e) makes it impossible

to comply with the transport code section, unnecessary handling of a firearm creates the risk of an

accidental or negligent discharge. See Farnam, Unnecessary Gun Handling, Ammoland Shooting

Sports News (July 27, 2015), available at https://www.ammoland.com/2015/07/unnecessary-gun-

handling/#axzz5mywSQ2FR; Michalowski, Avoiding a Negligent Discharge, available at

https://www.usconcealedcarry.com/blog/avoiding-negligent-discharge/.

        47.       Bruen, Heller and Wrenn teach us that firearm prohibitions are to be evaluated in

light of the text, history and tradition of the Second Amendment. Bruen, slip op. at 13. Heller, 554

U.S. at 576-628; Wrenn, 864 F.3d at 657-61; See also Moore v. Madigan, 702 F.3d 933, 935-37

(7th Cir. 2012), reh’g en banc denied, 708 F.3d 901 (7th Cir. 2013). Nothing in the text, history or

tradition of the Second Amendment supports upholding a ban on arms carry on public

transportation.

        48.       Public transportation systems did not exist as they do today at the founding of the

nation. However, there was plainly a tradition of firearms carry when citizens traveled from their

homes. In modern parlance, Americans carried arms to prevent their gatherings from becoming

soft targets. For example, a March 9, 1636 ordinance provided that every person above 18 years

of age (except magistrates and elders of the churches) were ordered to “come to public assemblies

with their muskets, or other pieces fit for service, furnished with match, powder, & bullets, upon

paine of 12d for every default… And no person shall travel above one mile from his dwelling


                                                  23
        Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 24 of 35




house, except in places wheare other houses are nearby together, without some armes, upon paine

of 12d for every default.” Shurleff, Records of the Governor and Company of the Massachusetts

Bay in New England (Boston: William White, 1853), 1:190, 1:210.

       49.     Connecticut in 1643 ordered that at least one person in every house “shall bring a

musket, pistol or some piece, with powder and shot” to every church meeting. Trumbell, The

Public Records of the Colony of Connecticut, Prior to the Union with New Haven Colony

(Hartford, Conn.: Brown & Parsons, 1950), 1:95, 96., Records of the Colony and Plantation of

New Haven From 1638 to 1649 (Hartford, Conn.: Case, Tiffany, 1857), at 131-32. It is reported

that several persons were fined for neglecting to bring their arms to meetings. Id. at 486.

       50.     In the New Haven Colony, militia members were required to arrive at Church with

their guns charged. Hoadly, ed. Records of the Colony and Plantation of New Haven, From 1638

to 1649 (Hartford, Conn.: Case, Tiffany, 1857), 131.

       51.     Rhode Island ordered “that no man shall go two miles from the Towne unarmed,

either with Gun or Sword, and that none shall come to any public Meeting without his weapon.”

Barlett, ed., Records of the Colony of Rhode Island and Providence Plantations, in New England

(Providence, R.I.: Crawford Greene and Brother, 1856), 1:94.

       52.     The requirement to carry arms when traveling from home and while attending

gatherings was not just a New England requirement. A 1619 statute in Virginia commanded that

churchgoers who “bear arms shall bring their pieces, swords, powder and shot” to worship services

with violators subject to fine. August 2, 1619, “Proceedings of the Virginia Assembly, 1619,” in

Tyler, Narratives of Early Virginia, 1606-1625 (New York: Charles Scribner & Sons, 1907;

reprinted New York: Barnes & Noble, 1959), 273. Virginia reissued the law in 1632 and again in

1738. Cramer, Gun Control in the Middle & Southern Colonies, citing Hening, The Statutes at


                                                 24
        Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 25 of 35




Large; Being a Collection of all the Laws of Virginia (New York: R & W & G. Bartow, 1832),

1:198 & 5:19.

       53.      A 1743 South Carolina law required church attendees on pain of fine “with minor

exceptions to come to church armed.” Cramer, Gun Control in the Middle & Southern Colonies at

6.

       54.      In Heller, the court cited “the most important early American edition of

Blackstone's Commentaries,” 554 U.S. at 594, by St. George Tucker. Speaking in 1803 of the right

to bear arms Tucker noted that in “many parts of the United States, a man no more thinks, of going

out of his house on any occasion, without his rifle or musket in his hand, than a European fine

gentleman without his sword by his side.” Id.

       55.      The limitation of carrying arms in sensitive places at least reaches as far back as

the 14th century. Professor Kopel reports that a 1313 statute provided “in all parliaments, treaties,

and other assemblies which should be made in the realm of England for ever, every man shall

come without all force and armour, well and peaceably.’ In other words, Parliament and similar

assemblies should be conducted without arms present at the deliberations.” Kopel at 209-10 & n.

22.

       56.      In 1328, the Statute of Northampton was propounded which in pertinent part

prohibited carrying arms around the king’s officials: “no man great nor small . . . be so hardy to

come before the King’s justices, or other of the King’s ministers doing their office, with force and

arms, nor bring no force in affray of the peace. . .” Kopel at 212. Professor Kopel explains that the

“prohibition served several purposes: preventing powerful criminals from armed attacks on the

functioning of courts; preventing criminal attacks on other government officials; and preventing

armed overthrow of the Queen and her consort.” Id. Additional provisions of the statute on its face


                                                 25
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 26 of 35




purported to prohibit riding “armed by night or by day, in fairs, markets, nor in the presence of the

justices or other ministers, nor in no part elsewhere. . .” Id. Various reiterations of the statute were

propounded through the 17th century. See Id. at 216-17.

       57.     Various commentators have noted that even at the founding or shortly thereafter, it

was not uncommon for the states or localities to enact laws regulating firearms such as regulations

for the storage of powder, prohibiting discharge in public, surety laws designed to keep the peace

and state variances of the English Statute of Northhampton. See, e.g., Cornell, The Right to Carry

Firearms Outside the Home: Separating Historical Myths and Historical Realities, 39 Fordham

L. Urb. L. J. 1695, 1707-17 & 1719-20 (2012) (hereinafter cited as “Cornell”).

       58.     The D.C. Circuit in Wrenn, acknowledged the existence of these laws but noted that

considering Heller’s analysis, the Statute of Northhampton did not support a prohibition on

handgun carry outside the home for the law-abiding citizens. Wrenn, 864 F.3d 660 (“[T]he history

showcased in Heller contradicts the main scholar whose work the District cites for the idea that

Northhampton banned all carrying in crowded areas (as opposed to carrying dangerous arms or

carrying so as to terrify.”). And Wrenn further explained that “surety laws did not deny a

responsible person carrying rights … [t]hey only burdened someone reasonably accused of posing

a threat.” Id. 864 F.3d at 661.

       59.     In the antebellum era, several states enacted laws prohibiting the carrying of

concealed pistols and Bowie knives. The Court in Heller noted that state Court decisions on these

laws are instructive in understanding the scope of the Second Amendment. State v. Reid, 1 Ala.

612 (1840), for example, cited at 554 U.S. at 688, held it was within the legislature’s power to

prohibit the carrying of a concealed firearm where the legislature had left open the option to carry

the weapon openly. By contrast, Bliss v. Commonwealth, 12 Ky. 90 (1822), cited at 554 U.S. 585 n.


                                                  26
        Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 27 of 35




9, invalidated a Kentucky statute that criminalized the carry of concealed weapons. Heller

explained that in Nunn v. State, 1 Ga. 243, 251 (1846), “the Georgia Supreme Court construed the

Second Amendment as protecting the ‘natural right of self-defense’ and therefore struck down a

ban on carrying pistols openly.” Heller, 554 U.S. at 612.

       60.     The Heller opinion further cited State v. Chandler, 5 La. Ann. 489, 490 (1850), in

which the Louisiana Supreme Court held that citizens had a right to carry arms openly: “’This is

the right guaranteed by the Constitution of the United States, and which is calculated to incite men

to a manly and noble defence of themselves, if necessary, and of their country, without any

tendency to secret advantages and unmanly assassinations.’” Heller, 554 U.S. at 613. See also

Wilson v. State, 33 Ark. 557 (1878)15

       61.     It is noteworthy that the laws at issue in those cases that prohibited the concealed

carry of pistols, generally made an exception for travelers. See Cramer, Concealed Weapons Laws

of the Early Republic (Praeger: Westport, Conn. 1999), Appendix A, p. 143-52. Illustrative is

Kentucky’s 1813 statute that criminalized “any person in this commonwealth, who shall wear a

pocket pistol, dirk, large knife, or sword in a cane, concealed as a weapon, unless when traveling

on a journey, shall be fined in any sum, not less than one hundred dollars[.]” Cramer, at 143.16


15
   Citing Fife v. State, 31 Ark. 455 (1876) the court said the legislature might constitutionally
prohibit the carrying of such pistols and other arms easily concealed about the person, as are used
in quarrels, brawls and fights between maddened individuals, but that the Constitution guaranteed
to the citizens the right to keep and bear arms for defense, etc.” Remarking on what we would now
call sensitive areas, the court stated that the state could in time of peace ban “wearing war arms
[army pistols] to places of public worship or elections” (citing Andrews v. State, 50 Tenn. (3
Heiskel) 165 (1871)), [b]ut to prohibit the citizen from wearing or carrying a war arm, except upon
his own premises or when on a journey traveling through the country with baggage … is an
unwarranted restriction upon his constitutional right to keep and bear arms.” 33 Ark. at 559-60.

16
  Citing Acts Passed at the First Session of the Twenty First General Assembly for the
Commonwealth of Kentucky (Frankfurt: Gerald & Berry 1813), 100-01.

                                                27
          Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 28 of 35




Indiana enacted a similar exception in its 1820 statute and its 1831 reenactment. Id. at 145.17

Arkansas also had an exception for travelers carrying concealed weapons in its 1838 statute. Id. at

150.18

         62.   Cornell, who has written extensively in support of restrictions on firearm carry,

cites (at 1719 n. 132) several post Reconstruction state laws regulating the carriage of firearms in

sensitive places, including: 1870 La. Acts 61 (prohibited weapons carrying “on any day of election

during the hours the polls are open, or on any day of registration or revision of registration, within

a distance of one-half mile of any place of registration or revision of registration”); 1870 Tex. Gen.

Laws 63 (prohibiting carry at a church or religious assembly, school or other place where persons

are assembled for educational, literary or scientific purposes, ballroom, social party or other social

gathering, election precinct on the day or days of any election, place where people may be

assembled to perform any other public duty, or other public assembly); 1878 Va. Acts 37 (“place

of worship while a meeting for religious purposes is being held without good and sufficient cause

therefor, and on Sundays); and 1859 Wash. Sess. Laws 489 (penitentiary, jail or house of

correction). See also Hill v. State, 53 Ga. 473 (1874) (upheld a statute prohibiting carrying weapons

at sensitive locations such as courts of justice and religious gatherings). These statutes share a

consistency with modern day sensitive place restrictions. Significantly, Cornell fails to point to

any historical restriction on firearm carry on public conveyances.




17
   Citing Laws of the State of Indiana, Passed at the Fourth Session of the General Assembly
(Jeffersonville: Isaac Cox, 1820), 39, and Revised Laws of Indiana in Which Are Comprised All
Such Acts of a General Nature as Are in Force in Said State; Adopted and Enacted by the General
Assembly at Their Fifteenth Session (Indianapolis: Douglass & Maguire, 1831), 192.
18
  Citing Revised Statutes of the State of Arkansas, Adopted at the October Session of the General
Assembly of Said State, A.D. 1837 (Boston: Weeks, Jordan & Co. 1838), Div. VIII, Art. I § 13, p.
280.
                                                 28
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 29 of 35




        63.     Although much has been written purporting to discuss the history of public carriage

of firearms in the 19th century following the adoption of the Second Amendment, we have been

unable to find any authority to support a tradition of prohibiting the carriage of weapons on public

conveyances of the time such as riverboats, ferries, trains or stagecoaches. Indeed, the statute at

issue in State v. Duke, 42 Tex. 455 (1874), which generally prohibited pistol carry outside one’s

home or place of business except in case of apprehended danger, like the antebellum laws

discussed above, also excepted travelers within the state. 42 Tex. at 457.19

        64.     Given the discussion above, it cannot be said that history supports treating public

transportation vehicles as sensitive for firearm carry. Nor does there appear to be a widespread

practice or tradition of treating public transportation facilities as sensitive.

        65.     Currently among the various states, firearm carry restrictions on public

transportation are rare. A survey of available data for state restrictions shows that although

restrictions vary considerably from state to state, restrictions on public transportation are outliers.

Other than the District of Columbia, only Illinois, Missouri, New Mexico, and South Carolina

prohibit carry on public transportation. See 430 Ill Comp. Stat. §66/65; RSMO §§70.441(11) &

577.030(4); NM Stat. Ann. §30-7-13; S.C. Code Ann. §58-23-1830. Montana also prohibits

carrying firearms on trains, but not on other public transportation. See Mont. Code Ann. §87-5-

401. None of these restrictive statutes can be said to be longstanding. The oldest appears to be

Missouri’s restriction on carry on buses, but it dates back only to 1982. See RSMO §577.030(4).

        66.     None of the more restrictive states appear to prohibit carry on public transportation.

Connecticut, which is technically a may issue jurisdiction but is liberal in granting carry permits,




19
  Cornell erroneously claims the Texas law was a comprehensive ban on traveling when armed.
Cornell at 1721.
                                                   29
        Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 30 of 35




prohibits carrying firearms in schools, state parks, wilderness management areas, by non-owner

employees of a business, on posted property, legislative buildings and in the town owned property

of Woodbridge. See https://www.usconcealedcarry.com/resources/ccw_reciprocity_map/ct-gun-

laws/#loc_res (providing citations to Connecticut authorities).20

       67.     New Jersey prohibits carrying firearms in schools and universities, state parks and

on ferry cruises to the national landmarks of Ellis Island and the Statue of Liberty.

https://www.usconcealedcarry.com/resources/ccw_reciprocity_map/nj-gun-laws/#loc_res.

       68.     Rhode Island prohibits the carrying of firearms in state parks and wilderness

management       areas,     secured     areas     in    airports     and     detention     facilities.

https://www.usconcealedcarry.com/resources/ccw_reciprocity_map/ri-gun-laws/#loc_res.

       69.     Massachusetts prohibits carry in schools and universities, courthouses, airports, and

when                        using                       off-highway                        vehicles.

https://www.usconcealedcarry.com/resources/ccw_reciprocity_map/ma-gun-laws/#loc_res.

       70.     New York has numerous restricted areas: schools and universities, childcare

facilities, public campgrounds, courthouses, mental health facilities, government buildings,

airports, and certain parks and recreation areas. New York also has a narrow public transportation

ban prohibiting the carrying of firearms on Ellis Island and Liberty Island cruises and at the Statue

of Liberty, but the state does not ban the carrying of firearms on subways, buses or ferries. Upstate

permits are not valid for New York City, however, without the New York City police




20
   The United States Concealed Carry Association maintains an up-to-date web site listing state by
state restrictions on the carry of firearms, including citation to the specific state statutes. See
https://www.usconcealedcarry.com/resources/ccw_reciprocity_map/. To review carry restrictions
in any state, one simply clicks on the state, scrolls down to “location restrictions” and clicks on
that link.
                                                 30
        Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 31 of 35




commissioner’s signoff. https://www.usconcealedcarry.com/resources/ccw_reciprocity_map/ny-

gun-laws/#loc_res.

       71.       Maryland restricts firearms carry in public schools, most childcare centers, state

parks, state and national forests, Chesapeake forest lands, state highway rest areas, commercial

aircraft, lodging establishments if the innkeeper so requires, dredge boats, community

rehabilitation centers, state buildings and grounds, legislative buildings, and at demonstrations.

https://www.usconcealedcarry.com/resources/ccw_reciprocity_map/md-gun-laws/#loc_res.

       72.       California also has a long list of restricted locations: schools and universities,

courtrooms, gun shows (if in possession of ammunition for the gun), state capitol and legislative

buildings and the residences of state officers and legislators, state parks, wildlife management

areas, polling places, labor demonstrations (picketing), bars, the Cal Expo Center, and San

Francisco City property. https://www.usconcealedcarry.com/resources/ccw_reciprocity_map/ca-

gun-laws/#loc_res.

       73.       Hawaii prohibits the carrying firearms in the secured area of an airport, in state and

national parks, national forests and wildlife management areas, and in rest stop buildings.

https://www.usconcealedcarry.com/resources/ccw_reciprocity_map/hi-gun-laws/#loc_res.

       74.       Delaware prohibits carrying firearms in schools and universities, vehicles owned

or operated by a school, public recreational buildings, sports stadia and fields, prisons, and

detention facilities. https://www.usconcealedcarry.com/resources/ccw_reciprocity_map/de-gun-

laws/#loc_res.

       75.       With respect to those states with substantial numbers of carry licenses outstanding,

while limitations again vary considerably, public transportation limitations do not exist. Where the

appropriate warning sign is posted, Texas prohibits the carrying of firearms at schools and private


                                                  31
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 32 of 35




colleges and universities, hospitals and nursing homes, churches, and government meetings. Texas

also prohibits carrying firearms in establishments deriving 51 or more percent of their income from

alcohol sales, as well as courthouses, correctional institutions, places of execution, certain posted

private property, polling places, racetracks, and the secured area of an airport.

https://www.usconcealedcarry.com/resources/ccw_reciprocity_map/tx-gun-laws/#loc_res.

       76.       Florida prohibits carry in schools and universities including vocational technical

centers, school and professional athletic events, police stations, detention facilities, court houses,

polling places, legislative meetings, hospitals providing mental health services, bar portions of

establishments serving alcohol, The Seaport, Savannas State Reserve, and airport passenger

terminals.              https://www.usconcealedcarry.com/resources/ccw_reciprocity_map/fl-gun-

laws/#loc_res.

       77.       Utah prohibits carrying firearms in any secure area in a correctional, law

enforcement, courthouse, airport, mental health facility, and houses of worship and private

residences       that     have      given     notice      that     firearms       are     prohibited.

https://www.usconcealedcarry.com/resources/ccw_reciprocity_map/ut-gun-laws/#loc_res.

       78.       Neighboring Virginia prohibits carry on school grounds, school buses, and areas

open to the public and exclusively used for school-sponsored functions or extracurricular activities

while such functions or activities are taking place. Most public colleges and universities have

promulgated regulations prohibiting carry in buildings and at events. Carrying firearms is also

banned in courthouses, airports, and detention facilities. Carrying is also banned in the Capitol

Square in Richmond, in state executive branch offices, on certain Tennessee Valley Authority

lands, the portion of Hog Island Wildlife Management Area bordering on the James River north

of the Surry Nuclear Power Plant (except while hunting), on Buggs Island, and a portion of the


                                                 32
          Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 33 of 35




Gaston                       Reservoir                        (Roanoke                         River).

https://www.usconcealedcarry.com/resources/ccw_reciprocity_map/va-gun-laws/#loc_res.

         79.    In sum, in line with Heller, the broad consensus of states regulate schools, court

houses, and most government buildings as sensitive locations. Hospitals, polling stations, colleges

and universities, sports stadia and events, and certain outdoor recreational locations are often

treated as sensitive locations as well. But there does not appear a tradition to treat public

transportation facilities as sensitive. Moreover, in those few jurisdictions which do so, the

restrictions in questions are not longstanding. Even in New York, which generally has the most

restrictive laws on firearms, the 153-year old New York subway, one of the world’s largest

underground transit systems, does not ban the carrying of firearms.

         80.    Thus, an analysis of text, history and tradition requires a conclusion that DC’s

prohibition of carrying firearms on public transportation facilities and vehicles is not grounded in

the nation’s historic tradition of firearms regulation, and therefore cannot be restricted as sensitive

areas under Heller. Accordingly, DC’s prohibition on carrying defensive firearms within public

transportation vehicles and stations violates Plaintiffs’ Second Amendment right to bear arms for

self-defense.

         FIRST CLAIM FOR RELIEF:

U.S. CONST., AMEND. II, 42 U.S.C. § 1983 AGAINST ALL DEFENDANTS

         81.    DC Code § 7-2509.01(6) prohibits Plaintiffs from carrying their personal protection

firearms on public transportation vehicles, including the Metro trains and Metro stations. No

national historical tradition of firearms regulation supports this ban, and this ban is a substantial

infringement of Plaintiffs’ ability to use a handgun for personal protection. As such, it violates

Plaintiffs Second Amendment rights.


                                                  33
         Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 34 of 35




       82.      Defendants’ laws, customs, practices, and policies banning Plaintiffs from carrying

their personal protection firearms on public transportation vehicles violates the Second

Amendment to the United States Constitution, facially and as applied against the individual

Plaintiffs in this action, damaging plaintiffs in violation of 42 U.S.C. § 1983. Plaintiffs are

therefore entitled to preliminary and permanent injunctive relief against such laws, customs, polies,

and practices and damages.

SECOND CLAIM FOR RELIEF:

U.S. CONSTITUTION, AMEND. V, 42 U.S.C. § 1983.

       83.      DC Code § 7-2509.01(6)’s prohibition of carry firearms on public transportation

vehicles and stations is arbitrary and irrational and thus violates the due process clause of the Fifth

Amendment to the United States Constitution in light of the Plaintiffs’ Second Amendment rights.

PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs request that judgement be entered in their favor and against

Defendants as follows:

       1. Enter a declaratory judgement that DC Code 7-2509.01(6) is arbitrary and irrational

             under the Second and Fifth Amendments to the United States Constitution.

       2. Enter a declaratory judgement that DC Code §7-2509.01(6) violates the Second

             Amendment to the United States Constitution.

       3. Enter an order preliminarily and permanently enjoining Defendants, their officers,

             agents, servants, employees, and all persons in active concert or participation with them

             who receive actual notice of the injunction, from enforcing DC Code §7-2509.01(6) as

             to persons holding District concealed pistol licenses;




                                                  34
       Case 1:22-cv-01878-RDM Document 1 Filed 06/30/22 Page 35 of 35




      4. Enter an order awarding Plaintiff’s their costs of suit, including attorney fees and costs

          pursuant to 42 U.S.C. §1988 and damages; and

      5. Enter an order providing any other and further relief that the court deems just and

          appropriate.

                                     Respectfully submitted,

                                     GREGORY T. ANGELO

                                     TYLER YZAGUIRRE

                                     ROBERT M. MILLER

                                     CAMERON M. ERICKSON

                                     By:    /s/ George L. Lyon, Jr.
                                     George L. Lyon, Jr. (D.C. Bar No. 388678)
                                     Bergstrom Attorneys PLLC
                                     1929 Biltmore Street NW
                                     Washington, DC 20009
                                     202-669-0442, fax 202-483-9267
                                     gll@arsenalattorneys.com

                                     Matthew J. Bergstrom (D.C. Bar. No. 989706)
                                     Arsenal Attorneys
                                     4000 Legato Road, Suite 1100
                                     Fairfax, VA 22033
                                     800-819-0608
                                     mjb@arsenalattorneys.com

                                     Attorneys for Plaintiffs
Dated: June 30, 2022




                                               35
